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                                         Exhibit A




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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

TRIBUNE COMPANY, et al.,                                   Cases No. 08-13141 (KJC)
                                      Debtors.
                                                           Jointly Administered

                                                           Hearing Date: Feb. 8 2011 at 10:00 a.m. (ET)

               STIPULATION CONCERNING LAW DEBENTURE’S MOTION
                (D.I. 7522) TO COMPEL ANGELO GORDON TO PRODUCE
              DOCUMENTS PURSUANT TO BANKRUPTCY RULES 9014 AND
                  7037 AND FEDERAL RULE OF CIVIL PROCEDURE 37


         WHEREAS Law Debenture Trust Company of New York (“Law Debenture”) filed a

motion (D.I. 7522) to compel Angelo, Gordon & Co., L.P. (“Angelo Gordon”) to produce certain

FCC-Related Documents (the “Motion”);


         WHEREAS Angelo Gordon has objected to the Motion;


         WHEREAS the parties have negotiated a settlement that fully resolves the Motion on the

terms and conditions set forth in this Stipulation and [Proposed] Order;


         IT IS NOW HEREBY STIPULATED AND AGREED:

         Subject to the following paragraphs of this Stipulation, Angelo Gordon will produce the

following documents to Law Debenture relating to FCC matters (“FCC Discovery”):


         1.     With respect to Freedom Communications Holdings, Inc., Philadelphia Media

                Network, Inc., the publisher of The Philadelphia Inquirer, and TTBG LLC, the

                Certificate of Incorporation, Bylaws, Stockholders Agreement, Limited Liability
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                Company Agreement, Partnership Agreement, or similar documents, to the extent

                the same (x) are within Angelo Gordon’s possession, and (y) show:


                (a)     the governance structure of such entity and any governance or

                        management authority or rights of Angelo Gordon, including director

                        designation or nomination rights; or


                (b)     the Equity Interest1 or Debt Interest2 held or managed by Angelo Gordon;3

                        and


                (c)     to the extent that such documents do not reflect the information called for

                        in Paragraph 1(b), a statement indicating whether Angelo Gordon owns a

                        5% or greater Equity Interest or more than a 33% Debt Interest, and, with

                        respect to any 5% or greater Equity Interest, whether such interest is

                        between 5% and 25%, exceeds 25% but is not more than 50%, or exceeds

                        50%.


         2.     With respect to the entities set forth on Exhibit A hereto,


                (a)     a statement indicating whether Angelo Gordon owns a 5% or greater

                        Equity Interest or more than a 33% Debt Interest, and, with respect to any




    1
      “Equity Interest” means any current direct or indirect ownership interest, excluding any
contingent or future interest such as an option or warrant.
    2
        “Debt Interest” means any debt.
    3
     For purposes of paragraphs 1-2, “Angelo Gordon” means Angelo Gordon or any affiliate
of Angelo Gordon.

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              5% or greater Equity Interest, whether such interest is between 5% and

              25%, exceeds 25% but is not more than 50%, or exceeds 50%; and


       (b)    for any such entity in which Angelo Gordon holds such an interest, the

              Certificate of Incorporation, Bylaws, Stockholders Agreement, Limited

              Liability Company Agreement, Partnership Agreement, or similar

              documents, to the extent the same (x) are within Angelo Gordon’s

              possession, (y) are not restricted from disclosure (including by any

              applicable confidentiality provisions or agreements), and (z) show:


              (i)     the governance structure of such entity and any governance or

                      management authority or rights of Angelo Gordon, including

                      director designation or nomination rights; or


              (ii)    the Equity Interest or Debt Interest held or managed by Angelo

                      Gordon.


3.     Provision of the information set forth herein will resolve Law Debenture’s Motion

       to Compel [D.I. 7512], which Law Debenture shall promptly withdraw with

       prejudice. Any documents and information that Angelo Gordon may produce in

       connection with this resolution are subject to the protections of the Depository

       Order [D.I. 2858]; as provided by the Depository Order and Acknowledgement

       thereto, Law Debenture agrees to use the documents “solely in connection with

       the Cases.” (Acknowledgement, ¶ 3.) Pursuant to the Depository Order and

       Acknowledgment, certain documents produced by Angelo Gordon may be

       designated “Financial Institution Highly Confidential,” “Highly Confidential –

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       Attorneys’ Eyes Only,” or “Confidential.” Law Debenture reserves its rights

       pursuant to the Depository Order and Acknowledgement to challenge such

       designations, but will abide by the terms of the Depository Order and

       Acknowledgment applicable to such documents and, absent further order of the

       Court, will not use such documents in a bankruptcy or other court filing unless

       filed under seal. (Acknowledgment, ¶ 7) In addition, absent further order of the

       Court, Law Debenture agrees not to raise, utilize, provide or discuss any such

       documents (as identified in the preceding sentence), or facts learned therein, with

       the FCC, except to the extent such documents or facts are otherwise publicly

       available (other than by means of a violation of this Stipulation and Order).

       Angelo Gordon reserves all of its rights as set forth in Angelo Gordon’s

       Objections and Responses to Law Debenture’s Second Request for the Production

       of Documents.


4.     The statements provided pursuant to this Stipulation shall be based on Angelo

       Gordon’s knowledge, information and belief, formed after a reasonable, good

       faith inquiry. Angelo Gordon will use its reasonable best efforts to produce the

       foregoing documents on a rolling basis by February 11, 2011, and will in any

       event comply with its obligation under the Case Management Order to complete

       production within 15 days of this Order.


5.     To the extent that Law Debenture wishes to submit a report on behalf of an FCC

       expert, such report shall be due on February 14, 2011 by 1 p.m. EST. To the

       extent that Angelo Gordon or any other proponent of the



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              Debtor/Committee/Lender Plan wishes to submit a rebuttal report on behalf of an

              FCC expert, such report shall be due on February 25, 2011.


Dated: February 4, 2011                  BIFFERATO GENTILOTTI LLC
       Wilmington, DE

                                         /s/ Garvan F. McDaniel_______
                                         Garvan F. McDaniel (No.4167)
                                         800 N. King Street, Plaza Level
                                         Wilmington, Delaware 19801
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                                         Attorneys for Law Debenture Trust Company
                                         of New York




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Dated: February 4, 2011           YOUNG CONAWAY STARGATT &
       Wilmington, DE             TAYLOR, LLP

                                  /s/ M. Blake Cleary________________
                                  M. Blake Cleary (No. 3614)
                                  The Brandywine Building – 17th Floor
                                  1000 West Street
                                  Wilmington, DE 19801
                                  (302) 571-6600

                                          - and –

                                  AKIN GUMP STRAUSS HAUER AND
                                  FELD LLP
                                  Tom W. Davidson, Esq.
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                                  Washington, DC 20036

                                  Attorneys for Angelo, Gordon & Co., L.P.




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                                          Exhibit A

Affiliated Media Inc.
Sun-Times Media Holdings LLC
ASP Westward, L.P.
Seattle Times Company
Swift Newspapers Inc.
Halifax Media Acquisition Inc.
American Consolidated Media, L.P.
GateHouse Media Inc
Fisher Communications Inc.
Black Crow Media Group
Newsweb Corporation
Cherry Creek Radio LLC
Citadel Broadcasting
Grupo Radio Centro
Entravision Communications Corp
ION Media Networks Inc.
Inner City Broadcasting Corporation
Journal Register company
Lazer Broadcasting Corporation
Liberman Broadcasting Inc.
Max Media LLC
Morris Communications Company
Midwest Communications Incorporated
Millennium Radio Group LLC
Nassau Broadcasting
NextMedia Group Inc.
NRG Media LLC
Radio One Inc.
Saga Communications Inc
Salem Communications Corporation
Sinclair Broadcast Group Inc.
Spanish Broadcasting Systems
Townsquare Media LLC
Broadcasting Media Partners [Univision]
Vox Media
WRNN-TV
ZGS Communications




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